Exhibit F
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   AWS Cloud Security 

      Overview

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              Data Privacy FAQ


  At AWS, customer trust is our top priority. AWS continually monitors the evolving privacy regulatory and
  legislative landscape to identify changes and determine what tools our customers might need to meet their
  compliance needs. Maintaining customer trust is an ongoing commitment. We strive to inform you of the privacy
  and data security policies, practices, and technologies we’ve put in place. Our commitments include:

       Access: As a customer, you maintain full control of your content that you upload to the AWS services under
       your AWS account, and responsibility for configuring access to AWS services and resources. We provide an

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       advanced set of access, encryption, and logging features to help you do this effectively (e.g., AWS Identity
       and Access Management, AWS Organizations and AWS CloudTrail). We provide APIs for you to configure
       access control permissions for any of the services you develop or deploy in an AWS environment. We do not
       access or use your content for any purpose without your agreement. We never use your content or derive
       information from it for marketing or advertising purposes.

       Storage: You choose the AWS Region(s) in which your content is stored. You can replicate and back up your
       content in more than one AWS Region. We will not move or replicate your content outside of your chosen
       AWS Region(s) except as agreed with you.

       Security: You choose how your content is secured. We offer you industry-leading encryption features to
       protect your content in transit and at rest, and we provide you with the option to manage your own
       encryption keys. These data protection features include:

           Data encryption capabilities available in over 100 AWS services.

           Flexible key management options using AWS Key Management Service (KMS), allowing customers to
           choose whether to have AWS manage their encryption keys or enabling customers to keep complete
           control over their keys.

       Disclosure of customer content: We will not disclose customer content (see How does AWS classify customer
       information? below) unless we're required to do so to comply with the law or a binding order of a government
       body. If a governmental body sends AWS a demand for your customer content, we will attempt to redirect the
       governmental body to request that data directly from you. If compelled to disclose your customer content to
       a government body, we will give you reasonable notice of the demand to allow the customer to seek a
       protective order or other appropriate remedy unless AWS is legally prohibited from doing so.

       Security Assurance: We have developed a security assurance program that uses best practices for global
       privacy and data protection to help you operate securely within AWS, and to make the best use of our security
       control environment. These security protections and control processes are independently validated by
       multiple third-party independent assessments.




      What is customer content?                                                                                 




      What is account information?                                                                              




      Who owns customer content?                                                                                




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      Who controls customer content?                                                             




      How do you use my account information?                                                     




      What happens when AWS receives a legal request for customer
                                                                                                 
      content?



      Where is customer content stored?                                                          




      What is my role in securing my content?                                                    




      What steps does AWS take to protect my privacy?                                            




      Who should I contact if I have questions regarding AWS and data
                                                                                                 
      protection?



      How does AWS use information included in resource identifiers
                                                                                                 
      and other items related to the management of AWS resources?




  Data Privacy Resources


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     Data Privacy Center




     Privacy Features of AWS Services




     Amazon Information Requests




     AWS Privacy Notice




     Using AWS in the Context of Common Privacy &
     Data Protection Considerations




     Have Questions? Connect with an AWS Business Representative

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